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-v- 04-20392-02-Ma ` en §i,i" ij'-i°tliirpH;S

SHEHRELLE COATS

UN|TED STATES OF AMERICA

Edwin Per[_\¢, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Atter November 1, 1987)

The defendant pleaded guilty to Count 9 of the indictment on Apri| 21, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section N_M.M mw NM(§)
18 U.S.C. § 1341 Mai| fraud; aiding and abetting 10/24/2003 9

1a u.s.c. § 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act ot 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 1 through 7, 10 through 18 and 20 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitutionr costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date ot Birth: 03/02/1978 Ju|y 29, 2005
Deft’s U.S. Marshal No.: 19877-076

Defendant’s Ftesidence Address:
115 Meadow Street

YOrk, AL 36925 M y

SAMUEL H. MA¥S, JF\.
UN|TED STATES D|STRICT JUDGE

 

August S' , 2005

This doci_ment entered on the docket sheet in compliance
with Huie 55 and/or 3211)1 FHCrP on "

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Case No: 04-20392-02-Ma
Defsndant Name: Sherrelle Coats Page 2 of 5

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of twelve (12) months and one (1) day.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve her term of imprisonment at a facility located
closest to York, Aiabama.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MAFiSi-iAL
By:

 

Deputy U.S. iViarshal

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Case No: 04-20392-02-Ma
Defendant Name: Sherrelle Coats Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAF|D COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4, The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl cr other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use cf any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
With any person convicted cf a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Sherreile Coats Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested cr questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties cf risks that may be
occasioned by the defendant’s criminal record cr personal history or characteristics and shall permit
the probation officer to make such nctifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution cbiigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment cf narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Officer.

3. The defendant shall provide the Probation Officer access to any requested financial
information

4. The defendant shall provide third-party risk notification.

5. The defendant shall pay restitution in regular monthly installments of not less than 10% of

gross monthly income.

6. The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant’s ability to pay restitution.

7. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20392-02-Ma
Defendant Name: Sherre|le Coats Page 5 cf 5

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The interest
requirement is waived. All of the payment options in the Scheduie of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g)

 

Total Assessment Total Fine Total Restitution
$100.00 $46,293.43

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON

Fiestituticn in the amount of $46,293.43 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority Order
Total Amount Amount of or Percentage
Name of Payee of Loss Ftestitution Ordered of Payment
Discover Bank $30,025.54 $30,025.54
Household Credit Card Services $16,267.89 $16,267.89

Attn: Ftestitution Control - HCSPK4

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unlessr
pursuant to 18 U.S.C. § 3664(1)(3)(8), the court orders nominal payments and this is
reflected in the Statement of Fteasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

ENNESSEE

 

Tracy Lynn Berry

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Charles E. Waidman
WALDMAN & ASSOCIATES
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Ste. 210

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Honorable Samuel Mays
US DISTRICT COURT

